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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMERITAS LIFE INSURANCE CORP.,
Plaintiff,
v. C.A. No. 23-236-GBW
WILMINGTON SAVINGS FUND SOCIETY, | JURY TRIAL DEMANDED

FSB, SOLELY AS SECURITIES
INTERMEDIARY,

Defendant.

[PROPOSED] ORDER MODIFYING PRETRIAL
DEADLINES IN JOINT SCHEDULING ORDER

UPON CONSIDERATION of the Motion to Modify Pretrial Deadlines in Joint
Scheduling Order filed by Wilmington Savings Fund Society, FSB, solely as Securities
Intermediary, and any opposition thereto and replies in support thereof, and there being good cause
shown, it is hereby

ORDERED that the Motion to Modify Pretrial Deadlines in Joint Scheduling Order is
GRANTED; and is further

ORDERED that the deadlines provided below will govern the remaining events in this

case:

Clese of fact aE) Tuly 9, 3024 ——* Gerber 4, 2024
Affirmative expert reports August 9, 2024 November 15, 2024
Rebuttal expert reports September 6, 2024 December 13, 2024

Reply expert reports September 25, 2024 January 10, 2025

Expert discovery cutoff October 23, 2024 January 31, 2025

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Dispositive motions due and
Daubert motions due

November 22, 2024

February 28, 2025

Oppositions to dispositive
motions and Daubert motions
due

December 20, 2024

March 31, 2025

Replies in further support of
dispositive motions and
Daubert motions due

January 24, 2025

April 21, 2025

Deadline motions in limine

March 7, 2025

June 6, 2025

Pretrial conference

November 12, 2025

November 12, 2025

Jury Trial begins

November 17, 2025

November 17, 2025

nt

SO ORDERED this

day of June 2024.

Ae Ih hi (Yn,

The Honorable Gregory B. Williams
United States District Judge
